                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF WISCONSIN


PABLITO VEGA,

                 Plaintiff,
                                                              Case No. 23-CV-1357
vs.

COMMUNITY DEVELOPMENT FINANCIAL
  INSTITUTION LOCAL INITIATIVES SUPPORT
  CORPORATION MILWAUKEE OFFICE,

COMMUNITY DEVELOPMENT FINANCIAL
  INSTITUTION MILWAUKEE ECONOMIC
  DEVELOPMENT CORPORATION,

                 Defendants.


      DEFENDANT MILWAUKEE ECONOMIC DEVELOPMENT CORPORATION’S
                       NOTICE OF MOTION AND
                         MOTION TO DISMISS


                          NOTICE OF MOTION AND MOTION TO DISMISS

         PLEASE TAKE NOTICE THAT, on a date and at a time to be set by the Court,

Defendant Milwaukee Economic Development Corporation, by its attorneys, will move the U.S.

District Court for the Eastern District of Wisconsin located at Milwaukee, Wisconsin, to grant its

Motion to Dismiss for Failure to State a Claim Upon Which Relief can be Granted and enter an

order as follows:

      1. Dismissing Plaintiff’s Complaint with prejudice; and

      2. Granting such other and further relief as this Court deems just and equitable.




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       This motion is brought pursuant to Fed. R. Civ. P. 12(b)(6) and is premised on

Defendant’s Brief in Support of its Motion to Dismiss, the Declaration of David Latona, as well

as the file, proceedings, and record herein.


       Dated this 15 day of December, 2023

                                      Amundsen Davis, LLC
                                      Attorneys for Defendant

                                            Emily M. Behn – Electronically signed
                                      By:___________________________________
                                      Lawrence J. Glusman - State Bar No. 1024507
                                      Emily M. Behn - State Bar No. 1119202

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